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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Teliea Kateri Baker,                          )      Case No. 4:13-cr-142- 5
                                              )
               Defendant.                     )

       Defendant is charged in an indictment with the offense of conspiracy to distribute and

possess with intent to distribute heroin. Following a detention hearing on September 6, 2013, the

court ordered defendant detained pending trial. However, on September 13, 2013, the court issued

an order temporarily releasing defendant so that she could attend a substance abuse evaluation

scheduled for September 16, 2013, in Rolette, North Dakota.

       The court has been advised that defendant has been accepted into a residential treatment

program at the Lake Region Human Service Center (“LRHSC”) in Rolla, North Dakota. The court

is inclined to order defendant’s release so that she may attend treatment. Accordingly, defendant

shall be released to her mother, Marilyn Yellow Bird, no earlier than 9:00 a.m. in Friday, September

27, 2013, for transport to the LRHSC. Defendant shall remain at LRHSC treatment facility,

participate in treatment, and abide by the LRHSC’s rules and regulations. Upon completion of her

treatment, she is to immediately report to the Pretrial Services office in Minot, North Dakota.

       IT IS SO ORDERED.

       Dated this 26th day of September, 2013.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
